Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 1 of 56

SCHAFKOPF LAW, LLC

ATTORNEYS AT LAW

December 4, 2018

U.S. District Court, ED of PA

Office of the Clerk of Court

U.S. Courthouse

601 Market Street, Room 2609

Philadelphia, PA 19106

Re: Angelo Ardo et al v Officer Eddie Pagan et al
To Whom It May Concern:

Enclosed please find one (1) original and one (1) copy of Plaintiff's Civil Action
Complaint, along with a CD containing a pdf version of same and a check in the amount of
$400.00, in regards to the above captioned matter.

Kindly file the original Complaint and return a time-stamped copy to the undersigned

along with the Civil Action Summonses.

Sincerely,

Gary Sc, POV

11 BALA AVENUE * BALA CYNWYD, PA 19004 * PHONE 610-664-5200 Ext. 104 * FAX 888-283-1334

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 2 of 56
IS 44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by jaw, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil dacket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I, (a) PLAINTIFFS DEFENDANTS
Angelo Ardo and Jean Monaghan, individually and as the personal Officer Eddie Pagan and Officer Jay Spalin individually and in their
representative of the Estate of her son Anthony Ardo official capacity as Pennsylvania State Troopers
(b) County of Residence of First Listed Plaintiff Lehigh County County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE; INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

¢)  Attomeys (Firm Name, Address, and Telephone Number) Attorneys (if Knewn)
Schafkopf Law LLC, 11 Bala Ave Bala Cynwyd PA 19004; 610-664-5200

Weisberg Law, 7 S. Morton Ave Morton PA 19107; 610-690-0801

 

 

 

 

 

      
  

        

    

        

      

  

II. BASIS OF JURISDICTION (Hace an ‘X” in One Box Only) HI. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace at “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11 US. Government 3° Federal Question TF DEF PTF DEF
Plaintiff! (U.S. Government Not a Party) Citizen of This State Hl M&M Ef Incorporated or Principal Place o4 o4
of Business In This State
0 2 US. Government 4 Diversity Citizen of Another State O 2 © 2 Incorporated ane Principal Place O5 83
Defendant (Didicate Citizenship of Parties in item fi) of Business In Another State
Citizen or Subject ofa 3 7 3. Foreign Nation O6 6
Foreign Country
IV. NATURE OF SUIT ¢tace an in One Box Only) Click here for: Nature of Suit Code Descriptions
110 Insurance PERSONAL INJURY PERSONAL INJURY = [() 625 Drug Related Seizure O 422 Appeal 28 USC 158 CO 375 False Clains Act
(7 120 Marine J 310 Airplane O 365 Personal Injury - of Property 21 USC 88! |G 423 Withdrawal 0 376 Qui Tam (31 USC
7 130 Miller Act 7 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729{o}}
0 140 Negotiuble Instrument Liability OF 367 Health Caref 0 400 State Reapportionment
(1 150 Recovery of Overpayment [7 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS CO 410 Antitrust
& Enforcement of Judgment Slander Personal Enjury G 820 Copyrights 0 430 Banks and Banking
0 151] Medicare Act © 330 Federal Employers’ Product Liability (3 830 Patent 1 450 Commerce
G 152 Recovery of Defaulted Liability G 368 Asbestos Personal 835 Patent - Abbreviated 0) 466 Deportation
Student Loans TJ 340 Mariae injury Product New Drug Application | 0 470 Racketeer Influenced and
(Excludes Veterans) 7 345 Marine Product Liability id Cormapt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY f LB ( SECUR C1 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle OG 370 Other Fraud C1 710 Fair Labor Standards O 861 HYA (1395 1 490 Cable/Sat TV
(1 160 Stockholders’ Suits (7 355 Motor Vehicle 0 371 Truth in Lending Act O 862 Black Lung (923) (1 850 Securities/Commnodities/
O 190 Other Contract Product Liabiity ( 380 Other Personal (J 720 Labor/Management 0 863 DIWC/DIW W (405(g)) Exchange
0) 195 Contract Product Liability | 21 360 Other Personal Property Dantage Relations O 864 SSID Title XVI 1 890 Other Statutory Actions
0 196 Franchise Enjury 0 385 Property Damage 1 740 Railway Labor Act © 865 RSI (465(2)} 898 Agriceltural Acts
1 362 Personal Injury - Product Liability 751 Family and Medicat CG 893 Environmental Matters
Medical Malpractice Leave Act 895 Freedom of Information

             

 

e REAL PROPERTY: oH : ONER PETEFIONS ©] 0 790 Other Labor Litigation (EDERY XK Act
0) 210 Land Condemnation 7 440 Other Civil Rights Habeas Corpus: (1 79E Employee Retivement 0 870 Taxes (US, Plaintiff G 896 Arbitration
1 220 Foreclosure O01 441 Voting O 463 Alien Detainee Income Security Act or Defendant) GF £99 Administrative Procedure
O 230 Rent Lease & Ejectment 07 442 Employment O 516 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
1 240 Torts to Land 0 443 Housings Sentence 26 USC 7609 Ageucy Decision
C1 245 Tort Product Liabikity Accommodations (7 530 General (3 950 Conatitutionality of
290 All Other Reat Property C445 Amer. w/Disabilities -] 535 Death Penalty y s! State States
Employment Other: 0 462 Naturalization Application
0 446 Amer. w/Disabilities -] 1 540 Mandamus & Other |) 465 Other immigration
Other 0 550 Civil Rights Actions
1 448 Education 1 555 Prison Condition

O $66 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

¥V. ORIGIN (Picce an “X" in One Box Only)

{1 Originai (12 Removed from 4 3) Remanded from 4 Reinstated or OG 5 Transferred from © 6 Multidistrict 8 Mubtidistrict
Proceeding, State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (De wot cite jurisdictional statutes antess diversity).
Fourth, Eighth and Fourteenth Amendments and 42 USC section 1983

Brief description of cause:

Wrongful Death; Excessive Force /Assault and Battery

 

VI. CAUSE OF ACTION

 

 

 

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Fl Yes  CINo

VIIL RELATED CASE(S) .
If ANY (ee instructions)” nr DOCKET NUMBER

DATE SIGNATURE OF fra OF ORD

12/04/2018 | hwy Be nn Prova

FOR OFFICE USE ONLY 7 } } 7H

RECEIPT # AMOUNT “APPLYING IFP JUDGE MAG. JUDGE

 

 

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 3 of 56

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpese of assignment to the appropriate calendar)

Address of Plaintif?: 3665 Windy Rd Orefield, PA 18069

 

Address of Defendant: 1800 Elmerton Ave Harrisburg PA 17110

 

1382 Good Rd Bangor PA 18013

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property inchided in an earlier numbered suit pending or within one year Yes [ | No] |
previously terminated action in this court? ’

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No

numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case (J) is / [*] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: 12/04/2018 [ry Pp hos foo-yy 83362

 

Uf Atigrney/At-Law / Pro Se fleinaty , Attorney 1D, # (ifapplicable)
? ?

 

CIVIL: (Place a in one category only)

 

 

 

 

 

A Federal Question Cases: B. Diversity Jurisdiction Cases:
[C] 1. Indemnity Contract, Marine Contract, and All Other Contracts (1 1. Insurance Contract and Other Contracts
[J] 2. FELA [] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury L] 3. Assault, Defamation
L] 4. Antitrust CI 4. Marine Personal Injury
C] 5. Patent LI 5. Motor Vehicle Personal Injury
['] 6. Labor-Management Relations LJ] 6. Other Personal Injury (Please specify):
7. Civil Rights L] 7. Products Liability
Cj] 8. Habeas Corpus [] 8. Products Liability — Asbestos
[] 9. Securities Act(s) Cases LJ 9. Allother Diversity Cases
LC] 10. Social Security Review Cases (Please specify):
(I) Il. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Gary Schafkopf , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and betief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

12/04/2018

 
 

83362

DATE:

 

 

Law f Pro Se Pidpntify Attorney LD. # (ifapplicable)

   

NOTE: A trial de nove will be a trial by jury only if there has been compliance with F.R.C.P, 38.

 

Civ. 609 (5/2018)

 

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 4 of 56

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Angelo Ardo et al CIVIL ACTION
Vv.
Officer Eddie Pagan et al : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shali complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( }

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2, ( }

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( }

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. xX
12-4-18 Gary Schafkopf, Esq Plaintiff
Date Attorney-at-law Attorney for
610-664-5200 888-283-1334 gary@schaflaw.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 5 of 56

WEISBERG LAW SCHAFKOPE LAW, LLC

Matthew B. Weisberg, Attorney ID No.: 85570 Gary Schafkopf, Attorney ID No. 83362
7 South Morton Ave. 11 Bala Ave

Morton, PA 19670 Bala Cynwyd, PA 19004

610-690-0801 610-664-5200 Ext 104

Fax: 610-690-0880 Fax: 888-238-1334

Attorney for Plaintiffs Attorney for Plaintiffs

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

 

PENNSYLVANIA
ANGELO ARDO
3665 Windy Rd. :
Orefiled PA 18069 : No.
and > JURY TRIAL OF TWELVE (12)
DEMANDED

JEAN MONAGHAN, individually and as
personal representative/administrator of the
Estate of her son, ANTHONY ARDO

1382 Good Road,
Bangor, PA 18013

Plaintiff(s),
Vv.

OFFICER EDDIE PAGAN in his individual
capacity as a Pennsylvania State Police

Trooper
1800 Elmerton Ave.
Harrisburg, PA 17110;

and

OFFICER JAY SPLAIN in his individual
capacity as a Pennsylvania State Police
Trooper

1800 Elmerton Ave.

Harrisburg, PA 17110;

Defendant(s)

 

 

CIVIL ACTION COMPLAINT
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 6 of 56

JURISDICTION AND VENUE

. Jurisdiction in this Honorable Court is based on federal question 28 U.S.C. §1331;
supplemental jurisdiction over state law claims is granted by 28 U.S.C. §1367.

. Venue is proper in the Eastern District of Pennsylvania, as the facts and transactions
involved in the discrimination complained of herein occurred in large part in this judicial

district at Northampton County, Pennsylvania.

PARTIES

. Plaintiff, Angelo Ardo, is an adult individual residing at the above-captioned address and
is the father of Anthony Ardo, deceased.

. Plaintiff, Jean Monaghan, is an adult individual residing at the above-captioned address
and is the mother of Anthony Ardo, deceased.

. Plaintiffs Ardo and Monaghan are the beneficiaries of Anthony Ardo’s estate.

. Monaghan was granted letters of administration on April 24, 2018. Exhibit A

. Defendant, Jay Splain, is an aduit individual, who at all times material herein formerly
acted individually, and/or as an agent, servant, workman, and/or employee of the
Pennsylvania State Police, acting under the color of state law.

. Defendant, Eddie Pagan, is an adult individual, who at all times material herein formerly
acted individually, and/or as an agent, servant, workman, and/or employee of the

Pennsylvania State Police, acting under the color of state law.

OPERATIVE FACTS
. On or about May 20, 2017, Angelo Ardo received a text message from Anthony Ardo, his

son stating that he was going to kill himself.

 
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Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 7 of 56

Anthony was in a state of distraught after a fallout with Monaghan, his mother, due to his
continued drug use.

Anthony lived with Monaghan at her home and worked on her farm.

The previous day, May 19, 2017, Monaghan received a temporary protection from abuse
order removing Anthony from the home.

On the morning of May 20 2017, Anthony went to Monaghan’s home to collect some
personal items and left without incident.

Anthony soon began texting suicidal pleas to Ardo.

Ardo’s wife, Patricia Ardo, cailed the Suicide Prevention Hotline concerning Anthony.
Patricia thereafter contacted Monaghan regarding Anthony’s texts.

Monaghan in turn contacted Defendant Pennsylvania State Police (hereinafter referred to
as “PSP”).

State Troopers, Defendants Splain and Pagan arrived at Monaghan’s home at
approximately 8:51 am.

While at the residence, Anthony and Monaghan spoke on the phone.

Anthony was still in a state of distress and continued making threats of self-harm, stating
he would “shoot anti-freeze into his veins”, “get a gun and shoot himself” and “blow
himself up with fire crackers”.

Defendants Splain and Pagan were present and overheard Anthony make threats of self-
harm.

Over an hour later, at 10:09 a.m., Anthony arrived at the property at which point he

remained in his vehicle.

 
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Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 8 of 56

Plaintiff Monaghan overheard Defendant Splain/Pagan state “I have to make it home to
see my family tonight” before exiting the home to approach Anthony.

Defendants Splain and Pagan then approached Anthony’s vehicle.

Defendants Splain and Pagan did not attempt any suicide prevention techniques or
negotiations.

Rather, Defendants Pagan and Splain shot Anthony eleven (11) times while his was still
in his vehicle, hitting him six (6) times, which Plaintiff Monaghan witnessed.

The Defendants did not have their vehicle camera on during the approach or initial
interaction with Anthony. See Northampton County Investigating Grand Jury (2016)
Report No-2, (Misc. No. 434-2016, GJ Case No. C-15)), Attached as Exhibit “B.”

At 10:11 am, just two minutes after Ardo arrived, Defendant Pagan radioed to the Belfast
Barracks that there had been a police shooting. See p. 2 Exhibit “B.”

Shortly thereafter, Northampton County District Attorney John Morganelli (“hereinafter
“DA”) received a phone call from Defendant PSP. See p. 4 Exhibit “B”

PSP informed DA that there was a police officer invelved shooting and inquired if PSP or
the DA’s office should investigate. See p. 4 of Exhibit “B”

The DA relayed to PSP that its office would be the lead agency to investigate the
shooting. See p. 3-8 of Exhibit “B”

Thereafter, PSP contacted the DA again to advise PSP would not yield the criminal
investigation despite their own officer’s involvement in the shooting. Id.

The DA did not agree with this posturing and later convened a grand jury to investigate

independently and without bias. Id.

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 9 of 56

34, The Grand Jury released two reports concerning its investigation of Defendants Splain

and Pagan’s deadly use of force.

35. The Grand Jury found, in part, as follows:

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vii.

PSP gave conflicting inconsistent statements concerning its policy for
investigating deadly police shootings; see p. 18-19 of Exhibit “B.”
PSP policy for investigating deadly police shootings fails to adopt the
Association of Prosecuting Attorneys recommendation that
independent agencies are to lead officer involved shootings; see p. 18-
21 and 31 of Exhibit “B.”

PSP has inconsistent and contrary positions as to how potential
conflicts of interest are handled in deadly police shootings; see p. 21-
23 and 33-34 of Exhibit “B.”

PSP practices are inconsistent with best practices guidelines for police
involved shootings; see p. 25 of Exhibit “B.”

PSP’s position is recalcitrant with respect to re-evaluating PSP policies
as it relates to police involved shootings; see p. 26 of Exhibit “B”
PSP cameras failed to capture the initial moments of the contact
between the Defendants Splain and Pagan and Ardo; including but not
limited to: the verbal commands given by troopers to Ardo prior to
engaging in the use of deadly force; see p. 27 of Exhibit “B”

PSP has an arrogant view of superiority relative to other law

enforcement agents; see p. 30 of Exhibit “B”

 
Case 5:18-

cv-05217-EGS Document1 Filed 12/04/18 Page 10 of 56

vill. PSP is not above the law and they are not immune from public

scrutiny; see p. 36 of Exhibit “B”

36. The Grand Jury’s findings, included, in part, that Defendants Splain and Pagan received

preferential treatment during the investigation of Anthony’s homicide as follows:

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PSP waited almost 30 days before taking Defendants Splain and Pagan’s
statements regarding the deadly shooting; see p. 23 and 35 of Exhibit “B”

PSP allowed Defendants Splain and Pagan to review the police dashcam
video of the shooting prior to making their statements; see p. 24 of Exhibit
“RB” :

PSP did not ask questions to the officers investigating the police shooting
concerning potential conflicts of interest despite being from the same
barracks. See p. 21-2 of Exhibit “B”

37. The Grand Jury gave recommendations to PSP including, but not limited to:

iv.

vi.

PSP consider the use of body cameras for all state troopers, in light of the
deficiencies associated with the present motor vehicle recording devices.
PSP ignored a similar recommendation made by a grand jury in Dauphin
County in 2014; See p. 37 of Exhibit “B”

PSP strongly consider adopting the PA District Attorney’s Best Practices
protocol with respect to officer involved shoctings; See p. 36 of Exhibit
“Ry”

PSP leadership clarify its written policies and practices with respect to
officer involved shootings and assure that all commanders
throughout...Pennsylvania have a full and complete understanding of same.
See p. 37 of Exhibit “B.”

38. Defendants failed to use best practices in their investigation of the shooting of Anthony,

failed to cooperate with other law enforcement bodies, failed to uphold PSP’s core values

and “Call of Honor” and ultimately failed to serve and protect; to wit: preventing

Anthony’s suicide.

 
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Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 11 of 56

After the death of Anthony, Patricia Ardo again called the Suicide Prevention Hotline to
discuss what happened to Anthony and it was clear this suicide prevention attempt was
inappropriately handled by PSP.

In fact, law enforcement officers are tasked with de-escalating situations with persons in
crisis or suffering from mental illnesses. Pa. Gen. Ass. House Bill 221, PN 0464 & PN
039 (2015).

The actions of the Defendants were undertaken knowingly, intentionally, negligently,
recklessly, maliciously and/or with reckless disregard for Anthony’s safety.

The actions taken by PSP as it relates to the investigation of this matter and the lack of
video footage during the initial encounter with Anthony, allowed Defendants Splain and
Pagan the ability to craft their statements in a way that would allow for a finding of
justified use of deadly force.

As a direct and proximate result of Defendants’ actions and misconduct, Plaintiffs
suffered physical injury, severe emotional distress, psychological damage, lost wages,

and lost earning capacity.

COUNT I
Wrongful Death and Survival Action

Plaintiffs incorporate by reference all prior paragraphs as if fully set forth at length
herein.

Defendants failed to serve and protect Anthony, failed to prevent his suicide attempt, failed
to engage him in any suicide prevention techniques and used deadly force on him
effectuating his death.

The Defendants knowingly, willfully, recklessly and maliciously refused to yield the

investigation to the DA and, as such, benefitted from their preferential treatment.

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 12 of 56

47, Due to Defendants negligence, unlawful violence, and wrongful acts, as described inter
alia, Plaintiffs have suffered economic loss and loss of future earnings caused by
Anthony’s death.

48. Plaintiffs have suffered harm due to Defendants conduct.

COUNT HU

Excessive Force/Assault and Battery

49, The above paragraphs are incorporated herein by reference.

50. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.

51. At the time of Defendants’ conduct, Plaintiff had not committed any infraction otherwise
to legally justify the force used by Defendants.

52. Defendants’ actions stated above, inter alia, were committed under color of state law and
were violations of Plaintiffs clearly established and well settled Constitutional and other
legal rights.

53, Defendants placed Plaintiff in fear of physical harm and contact and then physically
harmed and contacted Plaintiff without justification. Plaintiff suffered excessive force by
their wrongful conduct all in violation of the Fourth, Eighth, and Fourteenth Amendments
of the United States Constitution, actionable through 42 U.S.C. §1983, et seq., and at

Common Law.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfuily request this Honorable Court enter judgment in

their favor and against Defendants, individually, jointly and severally, in an amount in excess of

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 13 of 56

seventy-five thousand dollars ($75,000.00), plus such other and further relief as this Honorable

Court deems necessary and just, and to Order the foliowing relief:

a.

b.

Statutory Damages;

Punitive Damages;

Compensatory Damages, including:

Actual Damages for financial and physical injuries, including but not limited to
wage loss and loss of earning capacity, and emotional distress;

Attorneys’ fees and expenses, costs of suit, and equitable relief,

Injunctive relief, to wit: educational training.

Respectfully Submitted,

 

 

WEISBERG LAW SCHAFKOPF LAW, LLC
/s/: Matthew Weisberg Lyn .

Matthew Weisberg, Esquire G Sepatkort Esqufe “ft
Attorney for Plaintiff Attorney for Plaintiff

DATED: 2-4-1 DATED: J2-S/4

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 14 of 56

EXHIBIT A

 
 

COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY PENNSYLVANIA

 

-- REGISTER OF WILLS
SHORT CERTIFICATE
ESTATE OF ANTHONY P. ARDO .
FILE. 2018-0529
STATE FILE NO. 4818-0529

S.S.N. XXX-XX-XXXX

 

 

1, Gina X. Gibbs. Register of Wills im and for the County of Northampton, do hereby certify that on
the 24th of April; 2018, LETTERS OF ADMINISTRATION on the Estate of:

ANTHONY P. ARDO,

. “Deceased, were granted to: .
JEAN ROSE MONAGHAN.

Having fi'st been qualified well and truly to administer the same.
| further Certify that no revocation of said letters appears of record in my office.

| DATE OF DEATH: | May 20, 2017
 SSNe- “. 17§-68-2613

ee Ini testimony whereof, I have hereunto set my hand
SE Ee and scal this 24th day of April, 2018...

\ Co

 
 

- - Gina X. Gibbs, Register of Wills
_ Michele L. Gubish, Deputy

MOT VALID WITHOUT ORIGEVAT, SIGNATURE
an lAIPResi SEAL

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 16 of 56

EXHIBIT B

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 17 of 56

IN THE COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY

PENNSYLVANIA
CRIMINAL DIVISION
IN RE: }
NORTHAMPTON COUNTY )
INVESTIGATING GRAND JURY 2016 ) Misc. No. 434-2016

) GJ Case No. C-15

ORDER ACCEPTING AND FILING
INVESTIGATING GRAND JURY, REPORT NO. 2 - PART TWO OF TWO REPORTS

 

AND NOW, thigh @ day of , 2017, upon review of Investigating
Grand Jury Report No. 2-Part two of two reports, and finding that said report properly proposes
recommendations for action in the public interest based upon stated findings, and further finding
that said report is based upon facts received in the course of an investigation and authorized by
the Investigating Grand Jury Act, 42 Pa.C.8.A. §§4552 et seq., and is supported by the
preponderance of the evidence, it is hereby

ORDERED

1, That Investigating Grand Jury Report No, 2-Part Two of two reports, is accepted
by the Court with the direction that it be filed as a public record with the Court of Common Pleas
of Northampton County.

2, It is further ordered that the district attorney of Northampton County may also
forward a copy of the report to Governor Tom Wolf, Governor of the Commonwealth of
Pennsylvania, Josh Shapiro, the Attorney General of the Commonwealth of Pennsylvania and to
the majority and minority leaders of the Pennsylvania Senate and the Pennsylvania House of
Representatives as directed by the grand jury.

BY THE COURT:

 

STEPHEN G. BARATTA
Supervising Judge

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 18 of 56

IN THE COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY

PENNSYLVANIA
CRIMINAL DIVISION
IN RE: }
NORTHAMPTON COUNTY )
INVESTIGATING GRAND JURY 2012) Misc. No. 434-2016
) GJ Case No, C-15

TO THE HONORABLE STEPHEN G. BARATTA, SUPERVISING JUDGE:

REPORT NO, 2- PART TWO OF TWO REPORTS
We, the members of the Northampton County Investigating Grand Jury, based upon facts
received in the course of an investigation and as authorized by the Investigating Grand Jury Act,
42 Pa.C.S.A. § 4552(a), recommend action in the public interest. So finding, we do hereby adopt

this Report No, 2 of two reports for submission to the Supervising Judge.

fi

FOREPERSONC’
NORTHAMPTON COUNTY
INVESTIGATING GRAND JURY

 

DATED: / afufv7

f / Jurors voted FOR Report
¢.)_ Jurors voted AGAINST Report
C>_ Jurors Absent

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 19 of 56

IN THE COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY,

PENNSYLVANIA
CRIMINAL DIVISION |
IN RE: :
NORTHAMPTON COUNTY : Misc. No.: 434-2016
INVESTIGATING GRAND JURY 2016: GI Case No.: C-15

NORTHAMPTON COUNTY INVESTIGATING GRAND JURY REPORT
PART TWO

I. INTRODUCTION

On or about February 8, 2016, pursuant to and based upon the application of
John M. Morganelli, the district attorney of Northampton County, an Order of
Court was entered by the Honorable Stephen G. Baratta, President Judge of the
Northampton County Court of Common Pleas, summoning a county investigating
grand jury for the purpose of investigating matters including, but not limited to
criminal acts in and about the county of Northampton, Commonwealth of
Pennsylvania.

President Judge Baratta assigned himself as the Supervising Judge of the
grand jury. The members of the Northampton County Investigating Grand Jury of
2016 were selected and seated on April 21, 2016, and charged by the court with
respect to their duties and responsibilities. The aforesaid proceedings were

conducted pursuant to 42 Pa.C.S.A, §4541, et seq. known as the Investigating

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 20 of 56

Grand Jury Act. A Notice of Submission for the instant investigation was filed by
the District Attorney of Northampton County on or about June 14, 2017.
I BACKGROUND

On May 20, 2017 at approximately 7:55 a.m., Jean Monaghan contacted the
Pennsylvania State Police, Troop M -- Belfast Barracks via telephone to report that
Anthony Ardo, her son, had sent a text message to his father stating that he was
going to kill himself. Mr. Ardo was an adult individual, 47 years of age who had
been residing with his mother at 1382 Good Road, Lower Mount Bethel Township,
Northampton County, Pennsylvania. At approximately 8:51 a.m. and 8:58 a.m.,
Troopers Eddie Pagan and Jay Splain of Pennsylvania State Police (PSP), Troop M
— Belfast Barracks, respectively, arrived on the scene at 1382 Good Road, Lower
Mount Bethel Township to meet with Jean Monaghan. This location is an area in
which there is no municipal police department and in which Pennsylvania State
Police provides primary police coverage. While the aforesaid troopers were at the
residence, Ms. Monaghan had a number of short conversations with her son on the
telephone. During one of the conversations, Anthony Ardo told Ms. Monaghan.
that he was going to blow himself up in front of her. He specifically threatened to
blow himself up if he saw any police officers. At approximately 9:37 a.m.,
Trooper Splain made a radio transmission to the Belfast Barracks stating that

Anthony Ardo had threatened to have an improvised explosive device with nails

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 21 of 56

strapped to his neck and that he would light it ifhe saw any police officers.
Anthony Ardo arrived at the aforesaid location at approximately 10:09 a.m. and, at
approximately 10:11 a.m., Trooper Eddie Pagan made a radio transmission saying
that shots had been fired. Subsequent investigation determined that Anthony Ardo
was shot multiple times inside his vehicle and was pronounced deceased later that
morning. Anthony Ardo’s death was ruled a homicide.

At approximately 10:51 a.m. on May 20, 2017 District Attorney John
Morganelli received the following message on his cell phone’s voice message from
Lieutenant Joseph Sokolofski of the Pennsylvania State Police, Troop M:

“Hey, good morning John, it’s Lieutenant Sokolofski from PSP. I

don’t have too many details, I just got a cali though that the

troopers from Belfast shot someone that was apparently a suicidal

male and they shot him and he’s down. I don’t know if he’s

deceased or what the situation is yet. I wanted to give you the

heads up to see if you wanted our guys to investigate it or how you

want to handle it. When you get the chance, call me back at

. Thanks.”

District Attorney Morganelli returned his call at approximately 10:55 a.m.
Lieutenant Sokolofski advised the district attorney that a member of the
Pennsylvania State Police, Belfast Barracks, had to use deadly force in an incident
in Lower Mount Bethel Township. At that time Lieutenant Sokolofski did not

have any details other than that the matter may have volved a domestic matter

which precipitated a State Police response to a home on Good Road in Lower

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 22 of 56

Mount Bethel Township. He also advised that the victim allegedly was threatening
to ignite some type of explosive device which precipitated the police response.

District Attorney Morganelli advised Lieutenant Sokolofski to keep him
closely informed and to let him know immediately if the victim died. At 11:13
a.m. District Attorney Morganelli called Northampton County Detective Gerard
Walsh, an employee of the Northampton County District Attorney’s Office to alert
him of the situation. At approximately 11:22 a.m., Lieutenant Sckolofski called
District Attorney Morganelli again to inform him that the victim was deceased. At
that time the District Attorney indicated to him that it would be better to have the
Northampton County District Attorney’s Office take the lead in the investigation
and that he would assign a county detective, most likely, Detective Gerard Walsh,
who would be in touch with him. District Attorney Morganelli indicated to the
Lieutenant that Pennsylvania State Police could still continue with their internal
investigation but that the District Attorney would be declared the lead agency of
the criminal investigation of the shooting. Lieutenant Sokolofski stated that that
was satisfactory.

At approximately 11:26 a.m. District Attorney Morganelli made contact with
Northampton County Detective Walsh to advise him of the situation and to inform
him that he would lead the investigation of the police shooting. Detective Walsh

said he was available and would be in touch with Lieutenant Sokolofski.

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 23 of 56

At approximately 11:40 a.m. on May 20, 2017, District Attorney Morganelli
received the following voice message from Lieutenant Sokolofski on his cell
phone’s voice message:

“John, hey it’s Joe Sokolofski here. When you get a chance could
you give me a call back at . Thanks.”

District Attorney Morganelli made a phone call to Lieutenant Sokolofski at
11:41 a.m. at which time the lieutenant advised that his superiors and the higher up
brass of Pennsylvania State Police would not yield the criminal investigation of the
shooting to the District Attorney’s Office. District Attorney Morganelli indicated
to him that he thought this was a mistake and asked how PSP could investigate
theit own officers. Lieutenant Sokolofski indicated that he felt he was in a difficult
spot, between the DA and his superiors. District Attorney Morganelli indicated to
him that his superiors should contact him and that he was not agreeing or
consenting to this posture.

Thereafter, District Attorney Morganelli received two phone calls from
Captain Richard D’ Ambrosio of the Pennsylvania State Police, ‘Troop M at 11:55
a.m. and 11:57 a.m. both calls which he missed.

At approximately 11:58 a.m. on May 20, 2017, District Attorney Morganelli
received the following voice message on his cell phone’s voice message system

from Captain Richard D’ Ambrosio:

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 24 of 56

“Mr. Morganelli, Captain Rich D’ Ambrosio of the Pennsylvania
State Police of Bethlehem. It’s right around noon on Saturday
morning. I hate to have to meet you under these circumstances
here and I was just to do lunch with you on Tuesday coming up.
Could you give me a call reference to a shooting up there in
Bangor? My cell is . I wanted to try and, reach,
touch base with you here and explain our position on why we
want to handle it, the direction that I’m getting from my superiors
on this. Thank you John. See you.”

DA Morganelli did not return Captain D’Ambrosio’s phone call but he did
text him at 12:32 p.m. the following message:

“Captain, thanks for the call but I see no need to talk. I made my
position clear that the DA’s Office should be doing this
investigation of a homicide by a PSP officer. PSP has advised me
that they refuse to relinquish the investigation and want to do
their own. I disagree with that posture particularly in this
current atmosphere of distrust of the police in general. But I have
no authority over PSP. [’m inclined to just let them go — let them
deal with the press and later explain why they would not want an
independent investigation conducted by the DA. I called off my
county detective Jerry Walsh. He will not be on scene or interfere
with PSP’s investigation of their own guys.

Captain, I have only advised the press that I am aware of the use
of deadly force by a PSP officer that has resulted in the death of a
male individual. I told them that I was advised that police had
been called to that location and some threat of harm to police
precipitated the use of deadly force.

I am referring all press to call PSP and I have advised the press
that the DA’s Office is not involved in the investigation.”

Thereafter Captain D’ Ambrosio responded to District Attorney Morganelli

‘via a text as follows:

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 25 of 56

“Ok, heck of a way to start off our relationship ... hopefully I can
meet with you soon and explain our thought process on this ...”

DA Morganelli responded to Captain D’ Ambrosio’s text as follows:

“T think it is a mistake to shut us out and run the investigation of
a homicide by a PSP officer but, again, I can’t tell PSP what to do.
When we are involved we can make determinations as the
investigation unfolds. Now I will wait for months to go by until
PSP is all done. Then I may have to start all over by grilling
witnesses and investigators in front of a grand jury. Whether the
use of deadly force was justified or not, whether the investigation
was done right, etc. Better left up to a DA or 23 citizens of a
grand jury?

Captain D’ Ambrosio responded as follows via a text:

“Never wanted county excluded ... just wanted to be primary.

Still very early in the investigation ... county detectives are

welcome to assist.”

District Attorney Morganelli contacted Northampton County Detective
Walsh at 11:44 a.m. and indicated to him that Pennsylvania State Police wanted to
conduct their own investigation and, therefore, it was not necessary for him to go
to the scene.

On May 22, 2017, District Attorney Morganelli announced that his office
would conduct a separate and independent investigation of the shooting of Mr.
Ardo. On or about June 22, 2017 the district attorney announced that he would
utilize the Northampton County Investigating Grand Jury to insure an independent

and non-bias investigation into the matter. The submission filed by the district

attorney with respect to this investigation states as follows:

7

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 26 of 56

“... The Investigating Grand Jury shall inguire into

circumstances surrounding the shooting death of Anthony Ardo,

on or about the date of May 20, 2017, in the area of Lower Mount

Bethel Township, Northampton County, Pennsylvania and the

investigation of same.”

On August 31, 2017, we issued Report No. 1, Part 1 of two reports which
addressed the use of deadly force by the two Pennsylvania State Police troopers.
In that regard we found the use of deadly force by the state troopers to be justified.
We then proceeded to address the investigation conducted by Pennsylvania State
Police, the Pennsylvania State Police’s refusal to relinquish the investigation to the
district attorney, and Pennsylvania State Police’s policies and practices relative to
officer involved shootings. However, on October 13, 2017, the Pennsylvania State
Police and Commissioner Tyree Blocker of the Pennsylvania State Police filed a
Motion To Discharge the Northampton County Investigating Grand Jury of 2016
and/or in the alternative, to have an order issued Denying the Acceptance and
Filing of the Grand Jury’s Second Report. On November 17, 2017, the supervising
judge, the Honorable Stephen G. Baratta ruled that we could proceed to issue a
second report, and issued a formal opinion and order of court dated November 20,
2017.

We viewed the filing by the Pennsylvania State Police and Commissioner

Blocker as an attempt to obstruct the grand jury and obstruct our statutory authority

to conduct and conclude this investigation, The filing represented an arrogant

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 27 of 56

attempt to intimidate the grand jury. This brought more suspicion and made it

even more important that we completed our work.

HI. EXHIBITS

During the course of this investigation, the grand jury received and reviewed

the following exhibits:

Exhibit 1

Exhibit 2

Exhibit 3

Exhibit 4

Exhibit 5

Exhibit 6 -

Exhibit 7

Exhibit 8

Exhibit 9

Exhibit 10

The Pennsylvania State Police Use of Force Guidelines dated
October 31, 2011

The autopsy report of Anthony Ardo prepared by Zhongxue
Hau, MD date July 12, 2017

The toxicology report regarding Anthony Ardo dated June 20,
2017

A time line of the events of May 20, 2017 compiled from
Pennsylvania State Police documents and radio recordings

Protection from Abuse petition captioned Jean R. Monaghan,
Plaintiff, v. Anthony Ardo, Defendant dated May 19, 2017

Letter dated July 21, 2017 from Watch Guard, Inc. to
Lieutenant Joseph Sokolofski

Pennsylvania District Attorneys’ Association Officer Involved
Shootings Investigation Best Practices dated November 2016

Association of Prosecuting Attorneys letter dated March 9,
2017 and 21* Century Principles of Prosecution — Peace Officer
Use of Force Project

Report of Kenneth R. Davis, Law Enforcement Training
Consultant dated August 23, 2017

Pennsylvania State Police Policy in re: Officer Involved
Shootings dated November 25, 2014

9

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 28 of 56

Exhibit 11 Copy of Morning Call Newspaper article dated 11/1/2017
Exhibit 12 Dauphin County Investigating Grand Jury Report
No.: 08-2013-11
IV. SUMMARY OF SELECTED TESTIMONY
Chester County District Attorney Thomas P. Hogan

On August 24, 2017 the grand jury heard testimony from Chester County,
Pennsylvania District Attorney Thomas P. Hogan. Mr. Hogan has been the district
attorney of Chester County, Pennsylvania since 2012. Prior to that he also served
as a federal prosecutor.

Mr. Hogan and District Attorney Edward Marsico of Dauphin County were
the co-chairs of the Best Practices Committee for the Pennsylvania District
Attorney’s Association (PDAA) which was a committee established to look at the
issue of police officer involved shootings.' Mr. Hogan testified that the committee
identified a number of issues. First, there was an agreement that law enforcement
needed a standard set of protocols. He stated that inconsistent approaches lead to
bad results. Secondly, Mr. Hogan stated there was a need to address the

tremendous amount of distrust present in communities where there were

 

1 The Pennsylvania District Attorneys’ Association (PDAA) is the recognized organization of all
elected district attorneys in Pennsylvania.

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Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 29 of 56

investigations of officer involved shootings. Community distrust was identified as
a huge problem.

In order to address these issues, Mr. Hogan stated that the committee
reviewed policies from throughout Pennsylvania and from other states that already
existed for officer-involved shootings. Mr. Hogan stated that they were surprised
that there were not many written policies on this subject. He said the committee
also received feedback and ideas from the communities.

Once the work of the committee was concluded, a proposed protocol was
prepared and presented to PDAA where it was debated internally. Modifications
were made to it and thereafter it was adopted by PDAA. Mr. Hogan stated that it
was first adopted by the PDAA Executive Committee and after they approved it, it
then went to the general membership and was approved by the association as a
whole,

Mr. Hogan stated the “best practices” protocol of PDAA was released during
a series of press conferences in regions across the state and that it was extremely
well-received. It was also presented to the National District Attorney’s
Association Best Practices and since then various places across the United States.”
One major agreement that emerged was that the police department whose officer

did the shooting could not be the lead investigating agency. Essentially, everyone

 

* "rhe grand jury received and reviewed a copy of the Pennsylvania District Attorneys’ Association
Officer Involved Shootings Investigations Best Procedures dated November, 2016 as Exhibit 7.

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Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 30 of 56

agreed that police departments should not investigate their own police officer
involved shootings. Mr. Hogan stated that the two guiding principles of the
Officer-Involved Shooting Investigation Best Practices are:

1. There should be an independent agency that does the investigations;

and

2. The District Attorney’s Office needs to direct the investigation.

Mr. Hogan testified that the independent agency requirement exists for two
reasons. The first reason is that the public does not trust when an agency
investigates itself particularly in a homicide of a civilian citizen. He stated that
you cannot have the perception of bias or prejudice involved in the investigation,
and the only way to avoid or diminish this is to have an independent agency
investigate. The second reason to have an independent agency is that a law
enforcement agency is like any other workplace in that there exists grievances,
petty disputes and internal disagreements. The fact that someone received a
promotion over somebody else, or that somebody is going out with somebody
else’s girlfriend can all lead to bias. Mr. Hogan stated you cannot have this exist in
high stake cases such as an officer involved shooting.

The other issue addressed by Mr. Hogan, that of the district attorney

directing the investigation, is to assure that the district attorney has every question

 

answered. District attorneys have to decide, ultimately, if a killing is justified or

whether a police officer should be charged with a crime. Mr. Hogan stated that to

12

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 31 of 56

make this decision you need prosecutors involved from the beginning directing the
investigation. The prosecutor should decide who should be interviewed and how
they should be interviewed. Mr. Hogan testified that the district attorney is the
chief law enforcement officer in the county, and it is essential that the district
attorney direct the investigation.

Mr. Hogan stated that under the protocol, it is appropriate in a Third Class
County such as Northampton County for the district attorney to be the independent
agency in a situation involving a state police shooting. Mr. Hogan also noted that
the PDAA policy contains a footnote regarding small counties where the district
attorney may need to rely upon an independent group of investigators from within
PSP but from outside the barracks involved in the shooting. Mr. Hogan stated that
the footnote was put in specifically to address the very small counties of
Pennsylvania where only the state police provides police coverage.

Mr. Hogan also stated that he is familiar with the protocol that was adopted
by the Association of Prosecuting Attorneys. He explained that the Association of
Prosecuting Attorneys is a national organization of prosecuting attorneys including
big city district attorneys and state attorneys from all across the United States. Mr.
Hogan testified that on March 9" 2017, the Association of Prosecuting Attorneys
sent out a letter with their recommendations for officer-involved shootings which

also provides for the following.

13

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 32 of 56

First: That there should be an independent agency involved

Second: The prosecutor needs to be directing the investigation’
Report of Kevin R. Davis

On August 31, 2017 the grand jury received into evidence the report of
Kevin R. Davis a law enforcement trainer and consultant who was retained by the
Commonwealth’s attorney to review this matter. (Exhibit 9) Mr. Davis, in addition
to being a full time sworn police officer in Ohio, has served as a deputy sheriff, a
city police officer, a narcotics detective, an undercover narcotics investigator, a
swat team member and a full time instructor assigned to the training bureau. Mr.
Davis is a certified instructor in police use of force related matters. In addition, he
is the author of several hundred articles regarding police tactics, firearms, civil
self-defense, and use of force investigations. He has served as an adjunct
instructor for the Ohio Peace Officer Training Academy in Richfield Ohio and
personally developed curriculum for hundreds of law enforcement officers in other
states regarding use of force. He has also lectured at international police training
conferences and symposiums including the American Society of Law Enforcement
Trainers, the International Law Enforcement and Educators Training Association
and the Performance Institute Use of Force Summit. He has served for seven years

as a member of the Panel of Deadly Force Experts for the International Law

 

* The grand jury also received and reviewed the Association of Prosecuting Attorneys letter dated
March 9, 2017 and 21" Century Principles of Prosecution — Peace Officer Use of Force Project,
Exhibit No. 8.

14

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 33 of 56

Enforcement and Educators Training Association. He has written a leading book
on the investigation of deadly and non-deadly force entitled “Use of Force
Investigation: A Manual for Law Enforcement” which was published in 2012.

Mr. Davis’s report notes that the use of deadly force by law enforcement
officers within the United States is under intense scrutiny. As such, Mr. Davis
notes that the investigative process cannot be professionally accomplished by one
agency without oversight and involvement of outside entities. Mr. Davis states
that the best processes for investigating the use of deadly force involving law
enforcement is when those processes are codified in writing. These processes,
whether detailed in a policy or a memorandum of understanding, should establish
the members of the officer involved shooting team (O.1.S.) and the exact method
and steps to be applied in the investigation of an officer involved shooting. Mr.
Davis further stated that an investigation completed by only the employing agency,
without oversight or checks and balances, is subject to public scrutiny.

V.__ THE PENNSYLVANIA STATE POLICE INVESTIGATION,
POLICIES AND PRACTICES

Although we concluded that the use of deadly force by Troopers Splain and
Pagan was justified, we had serious concerns and questions regarding the
Pennsylvania State Police investigation, its policies and practices. Those concerns

and questions are now addressed. below.

15

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 34 of 56

e Inconsistent and Contradictory Positions Regarding PSP Policies

From the outset of this matter, Pennsylvanian State Police personnel have
cited their “policies” as the basis for justifying the practice of investigating their
own officer involved shootings. These so called “policies” were the reasons given
by both Lieutenant Sokolofski and Captain D’ Ambrosio and relayed to District
Attorney Morganelli on May 20, 2017. Captain D’ Ambrosio specifically referred
to these “policies” in his testimony before the grand jury and indicated that he had
in fact talked to a major of the Pennsylvania State Police who reaffirmed these
policies on the day of the Ardo shooting. However, when the grand jury heard
from the Pennsylvania State Police’s designated spokesperson, Major Douglas
Burig, he seemed to suggest otherwise.

Major Douglas Burig testified before the grand jury on August 24, 2017 and
stated he was authorized to speak on behalf of the Pennsylvania State Police
agency. Major Burig astonishly stated that there is no policy that prohibits an
independent agency from investigating a trooper involved shooting. Major Burig
testified, for example, that the PSP policy allows for municipal police departments
to take over as primary investigators in certain scenarios in a trooper involved
shooting. He acknowledged that PSP policies recognize that in situations where

the state police are not the primary law enforcement agency, if state trooper kills

16

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 35 of 56

someone, that the municipal police department can make the decision to be the
lead investigator and PSP has to accept their decision,

Major Burig acknowledged that the state police at Troop M had refused to
allow the district attorney’s office to lead the investigation in the matter involving
Anthony Ardo which had occurred in a jurisdiction in which PSP is the primary
law enforcement agency. But Major Burig seemed to disagree with the decision
made by Troop M, Major Burig said it was the District Attorney’s decision
whether to be the lead on a case and that PSP policy does not prohibit the district
attorney from being the lead on a case like the Ardo matter. Major Burig stated
that if he was on call the day of the Ardo incident, he would have agreed with
District Attorney Morganelli and would have allowed the district attorney’s office
to take the lead in the case. He stated that is PSP’s policy. Major Burig agreed
that there was some type of confusion in the incident that occurred on May 20,
2017.

“Ouestion by Mr. Morganelli: You cleared up a couple things
today.... he one point you cleared up is that in a jurisdiction where we have a
municipal police department, like say, Bethlehem, which is our largest police
department in Northampton County, if a state trooper ... was called to
Bethlehem for some reason and ended up killing somebody, that your policies

only offer to assume primary (jurisdiction).

17

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 36 of 56

But if they decline that and they say, no, we are retaining
jurisdiction on our own, City of Bethlehem Police, and then you offer
assistance, they could decline both. And with that, the PSP policy would
recognize that the City of Bethlehem Police Department would be
investigating the PSP sheoter. I think you have said that, and that’s what
your policy said.

Do you agree on that?

Answer by Major Douglas Burig: That’s what our policy states, sir.

 

Question by Mr. Morganelli: And now when we go into areas where we
don’t have a municipal police department, which is now, you know, where we
are in this particular case, where PSP is the primary police jurisdiction - -
agency, what you’re telling us is that if the District Attorney as the chief law
enforcement officer says we want to - - we want to be the independent agency,
we are coming in with our guys or Chester County, for example, where you
have Tom Hogan down there who has his own homicide squad, you are going
to defer to the D.A.’s of those counties because that’s what your policy allows.
Is that correct?

Answer by Major Douglas Burig: Yes. (pp. 75, 76)

The testimony by Major Burig was completely inconsistent and contrary to
that of Lieutenant Sokolofski and Captain D’Ambrosio. Captain D’ Ambrosio
testified that he did not know why Lieutenant Sokolofski asked the district attorney
how he wanted to handle the shooting. Captain D’ Ambrosio explained that it is

“clear cut” that if there is a shooting involving a trooper in a municipality that the

18

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 37 of 56

PSP covers, then PSP handles the investigation. Captain D’ Ambrosio stated that
this has been the policy “forever.” (N.T. p. 15 of testimony)

Captain D’ Ambrosio further stated that with respect to this matter his first
call was to his superior, Major Dante Orlandi. Major Orlandi is the commander in
charge of the whole southeast part of the state. Captain D’ Ambrosio stated that
Major Orlandi knew that the district attorney wanted to be the lead in the
investigation into the shooting of Mr. Ardo. Captain D’ Ambrosio testified that the
written policy of the PSP is for them to handle their own investigations.

This contradictory testimony confused the grand jury, particularly due to the
fact that Major Burig was selected by the PSP leadership to be the spokesman for
them and to articulate the policy. Because of that, the grand jury decided to
subpoena Commissioner Tyree Blocker.

Commissioner Tyree Blocker testified before the grand Jury on September
28, 2017. Mr. Blocker is presently the highest ranking member of the
Pennsylvania State Police. Commissioner Tyree Blocker joined the Pennsylvania
State Police in 1975 as a trooper. The majority of his career involved criminal
investigations including drug law enforcement and organized crime. His 30 year
career progressed up the ranks form trooper through major. He left the PSP in
2005 but at the request of Governor Tom Wolf in 2015, he came back to serve as

the State Police Commissioner.

19

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 38 of 56

Commissioner Blocker testified that the incident on May 20, 2017 occurred
in an area that would be known as a “primary jurisdiction” of the Pennsylvanian
State Police. This means that it was an area in which there is no municipal police
department and that PSP provides the primary police services. Commissioner
Blocker stated he was aware that Lieutenant Joseph Sokolofski left a voice
message for District Attorney Morganelli wanting to know whether Mr. Morganelli
wanted PSP to investigate the matter or if he wanted his office to investigate the
matter. Commissioner Blocker stated he believes that Lieutenant Sokolofski may
not have understood the policy of PSP.

Commissioner Blocker acknowledged that the PSP policy states that in a
“non-primary jurisdiction,” the PSP policy recognizes that if a PSP officer shot and
killed someone, the incident would not be investigated by their own agency and
that it would be the DA’s office, if that’s how they elected to do so.

However, Commissioner Blocker testified that if the officer involved
shooting occurred in an area where Pennsylvania State Police is primary, then the
PSP is going to conduct that investigation. He stated that Major Burig was wrong
when he said he would agree with the District Attorney and allow the district
attorney’s office to interview the officers involved, collect the evidence and more
or less handle the investigation. Commissioner Blocker stated that Major Burig

was incorrect when he stated he would allow the district attorney’s office to be the

20

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 39 of 56

independent agency when the incident occurred in an area where there is no
municipal police department. He stated that in the areas where PSP has primary
jurisdiction for police services, they will conduct the criminal investigations in

consultation with the District Attorney.

e Inconsistent and Contradictory Positions Regarding Potential
Conflicts of Interest

District Attorney Hogan of Chester County testified that an independent
investigation by a non-involved agency is necessary in an officer involved
shooting due to the fact that a police department is like any other work place
and may have unknown social and/or personal relationships that could
compromise an investigation. With respect to this issue we also heard
inconsistent and contrary positions articulated by PSP personnel as to how
potential conflicts of interest are handled in this type of an investigation.
Commissioner Blocker stated the following are precautions PSP takes in order
to prevent a conflict of interest in the investigation of an officer involved
shooting:

1. Each member of the team needs to self-examine themselves as

to whether they have any insight regarding any aspect of the
investigation or anyone that was involved,

2. Corporals, sergeants, lieutenants and captains scrutinize the

members of the officer involved shooting team to ensure that

troopers are not potentially compromised with respect to an
investigation.

21

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 40 of 56

He acknowledged, however, that there are no set screening mechanisms to assure
self-reporting.

Major Burig testified that they do ask the members of the investigating team
if they have personal or social relationship with respect to the involved troopers.
Major Burig also stated that if one of the forensic service unit members did have a
personal or social relationship with an involved trooper, PSP could bring people in
from other parts of the state. Major Burig stated that PSP has a lot of resources
and the ability to move people not only within the same troop but also to other
parts of the region or other parts of the state.

However, Lieutenant Sokolofski and Captain D’ Ambrosio testified that they
don’t ask questions about relationships because they believe in the integrity of their
own people and that they would come forward on their own. Further, Captain
D’ Ambrosio did not agree with Major Burig with respect to moving people in from
another troop and testified that it would take time to bring people in from other
troops and it would be cumbersome. Captain D’ Ambrosio stated that he did not
agree that a different troop should be called in to such an investigation. Captain
D’ Ambrosio indicated that although he understood the concern the public may
have that the investigators may have relationships with the troopers who are being

investigated, which could affect their objectivity, Captain D'Ambrosio stated that

22

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 41 of 56

he had confidence that his people would do the right thing and have the integrity to
do the job the right way.

Lieutenant Sokolofski testified that he had appointed Trooper Michael Everk
as the lead investigator in the Ardo investigation even though he did not know
Trooper Everk’s relationship with the two troopers involved in the Ardo incident.
Lieutenant Sokolofski acknowledged that Trooper Jay Splain and Trooper Eddie
Pagan were patrol unit members at the Belfast, Troop M barracks which primarily
handles Lehigh and Northampton Counties. Lieutenant Sokolofski stated he did
not know if Trooper Splain and/or Trooper Pagan had any social relationships with
the troopers involved in the investigation of their incident. Lieutenant Sokolofski
also stated that it would be a “nightmare” to deploy a different troop that is further
away in order to assure that there are no personal relationships between any of the
troopers. He enumerated a number of reasons why it would not be practical to

deploy a different troop including but not limited to the following:

e No knowledge as to their availability

The amount of time it is going to take for them to assemble to come
hours away into another troop

Unfamiliar with the workings of another county

No idea of county rules

It took two days to get a search warrant to hold the scene

Logistical nightmare

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Although Lieutenant Sokolofski indicated that it was not an “impossibility”
to deploy another troop, he did not believe that it made sense to call in

23

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 42 of 56

investigators from two hours away who still worked from the same agency and he

did not think that that was necessary in the Ardo matter.

e Inconsistent and Contradictory Positions regarding the
Assignment of Troopers from Other Barracks

As noted above, the testimony of Pennsylvania State Police supervisors
including but not limited to the testimony of Captain D’ Ambrosio suggested that it
would be inefficient and impractical to bring state troopers or investigative teams
in from other barracks outside Troop M to investigate a matter such as an officer
involved shooting. Likewise as noted above, Lieutenant Sokolofski stated it would
be a “nightmare” to deploy members of a different troop that is farther away.

However, Commissioner Blocker acknowledged that there is a ‘72 hour
period of time for the officer who is involved in an officer-involved shooting to be
interviewed, He stated that this would be enough time to bring in investigators
from a troop someplace close but that he believed that Troop M has the requisite

investigative talent within the troop to investigate major cases.°

e Allowing the Involved Officers to Review the Video Recordings Prior to
Being Interviewed

 

* The grand jury notes that despite Lieutenant Sokolofski’s testimony, Trooper Spandoloski, the
Pennsylvania State Police bomb expert, was deployed from Hershey in order to conduct the search
and investigation of the explosives in and about the Ardo vehicle.

* The grand jury also notes that a spokesperson for PSP, Ryan Tarkowski, was quoted in a
Morning Call article dated November 1, 2017 that PSP procedures involves the assignment of
investigators from barracks other than that of the involved troopers. (Exhibit 11)

24

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 43 of 56

State Police investigators who conducted the investigation and questioning
of Troopers Jay Splain and Eddie Pagan permitted the troopers to review the motor
vehicle video recordings (MVR) depicting the events as they unfoided prior to
interviewing them. Mr. Davis specifically addressed the issue as to how video
evidence should be used and introduced into the investigation of an officer
involved shooting. Mr. Davis noted that it is legitimate to question the practice of
allowing police officers to view videos prior to them giving their official
statements. He noted that it has been a source of much consternation throughout
the criminal justice community about if and when the police officers should view
any or all video footage. He also noted that many law enforcement unions have
gotten mandatory review included in their collective bargaining agreements. Mr.
Davis testified that the best practices are as follows:

(1) The officers should not be allowed to view any or all videos
prior to being interviewed. The first phase of the interview
with the officer involved shooting team is unaided by video,
without allowing the officer to view the tapes. In this phase,
the officer provides his recollection: what he feared; what he
saw, heard or was focused in on, to the best of his recollections,
understanding that human memory does not work like digital
recording. This unaided interview is imperative to understand
the officer’s perspective and his mindset and perceptions. The
cognitive interview style is a superior method to conduct the
officer involved shooting interview.

(2) The second phase, conducted right after the first, is to allow the
involved officers to watch the tape from beginning to end
without interruption. Often times the officer, due to
‘“Gnattentional blindness” perceptional distortions, such as

25

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 44 of 56

tunnel vision, or simply that the officer was not looking where
the camera was facing and what the video captured, will not
have seen or have no recollection for multiple actions or
activities captured on tape.

(3) The third phase allows the involved officers to explain or
comment on what was captured on video and questions of
investigators answered in a non-accusatory manner, In this way
we learn what the officers saw, thought he saw, his perceptions,
and what he was focused in on and his explanation as to why
he/she did what they did. It is vital that these perceptions, fears,
focus, thoughts, mindset and decision making processes are
recorded as they provide the officers version of events
independent of the videos.

The grand jury notes that these recommendations set forth in Mr. Davis’s report of
August 25, 2017 was also supported by District Attorney Thomas Hogan, District
Attorney of Chester County.°

Pennsylvania State Police officials, however, defended the practice that
permitted Troopers Splain and Pagan to view the dash cam video of the incident
before they gave their statements. Captain D’ Ambrosio stated that it was past
practice to allow police officers to view motor vehicle recordings (MVR’s) in a

shooting. When he specifically asked if he thought it was good practice to show

 

° Mr. Hogan testified that although the policy of the PDAA does not include guidelines concerning
when it is appropriate to show a video to a police officer who killed someone, his recommendation is
to interview the officers first without showing them the video of the event. If there are differences
between what the officers relate and what is depicted on the video, the investigator then has to
make a judgment call, Mr. Hogan stated that if you think the subject is lying, then you should not
show them the video. If you think the witness may have made an honest mistake, then Mr. Hogan
suggests to show the video and ask them to clarify their statement. Mr. Hogan advised not to show
the video first thing because then the witness will base their statement on the video.

26

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 45 of 56

the subject of an investigation a video of the events before interviewing them, he

stated he did not see any issues with them looking at it. (Notes of Testimony p. 33)

e PSP’s Motor Vehicle Recording Devices Failure to Capture
Kivents ,

During the course of our investigation into the Ardo matter, it was
determined that the motor vehicle recording devices on the police cars utilized by
Troopers Splain and Pagan did not capture all of the events that occurred at that
time. Specifically, the cameras failed to capture the initial moments of the contact
between the troopers and Mr. Ardo including but not limited to the verbal
commands given by troopers to Mr. Ardo prior to engaging in the use of deadly
force. The grand jury received Exhibit 6 which was a letter dated July 21, 2017
from WatchGuard which is a manufacturer of law enforcement video recording
systems headquartered in Allen, Texas. Their products include the in car cameras
connected to the in car motor vehicle recorders or MVRs which are utilized by
Pennsylvania State Police, The letter explained that their technical personnel had
reviewed the MVR footage and log surrounding the vehicles utilized by Troopers
Splain and Pagan. They determined that both units were in proper working order
and that the video footage had not been altered, manipulated or edited in any way.
Tn essence, they assured us that the footage that we saw was the complete video

recording captured by this system on May 20, 2017 from the two police units at the

27

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 46 of 56

scene of the Ardo incident. They indicated that the camera is in a constant
recording state while the car is in operation and that there are triggering events that
will create and tag portions of video for later viewing either in car, from a server or
both. Triggering events include but are not limited to activating the emergency
lights on the vehicle or a user manually initiating a recording event. A review of
the relevant logs for both units confirmed that both units ignition had been turned
off and both units began the thirty minute shut down procedures. At
approximately 9:44 a.m., both MVR units stopped recording as programed. This
began the period of time that both troopers were inside Mrs. Monahan’s residence
waiting for Mr. Ardo to arrive. At approximately 10:10 a.m., the ignition in both
units was turned on and both cameras began recording thirty seconds later after the
normal system booting protocols. It was this period of time (the thirty seconds)
that explained why there was no MVR footage of the incident until approximately
10:10 a.m. when troopers began to fire shots into Mr. Ardo’s vehicle. Thus, the
crucial period of time just prior to the shooting when troopers gave verbal
warnings and commands were not captured.

We inquired as to whether or not Pennsylvania State Police Troopers wear
body cameras and we were advised that they do not. It appeared to the grand jury
that if body cameras had been utilized by both troopers on May 20, 2017, there

would have been more video footage of the relevant events just prior to the

28

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 47 of 56

shooting of Mr. Ardo which would have been helpful to the grand jury in
determining the use of force issue.’

Recalcitrant Position with Respect to Re-evaluation of Policies

Commissioner Blocker testified that in his opinion, PSP’s major case
policy is up to current standards. To change the policy and allow the district
attorney of a county to lead the investigation in a trooper-involved shooting,
Commissioner Blocker would have to forward that request to PSP’s Bureau of
Research and Development for additional research and then they would get back to
him to make a decision. When asked if he could make the change to the policy
without referring it to others, Commissioner Blocker testified he had the authority
to do that but that he wouldn’t.

Commissioner Blocker stated that if the governor asked a commissioner to

change the policy about investigating their own troopers, he could try to persuade
him otherwise. If the commissioner is unsuccessful, the commissioner would have

the choice of resigning or implementing the governor’s directive.

e PSP’s View of Themselves as a Superior Law Enforcement
Agency

 

7 The grand jury notes that this recommendation was a recommendation given by The Eighth
investigating grand jury in Dauphin County, Pennsylvania in October, 2014. (See Exhibit 12 -
Dauphin County Investigating Grand Jury Report No. 08-2013-11 )

29

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 48 of 56

Throughout our investigation, it became clear that the Pennsylvania
State Police leadership have a somewhat arrogant view of superiority relative to
other law enforcement agencies. This view has contributed to the recalcitrant
position taken by PSP leadership relative to considering any change in their
policies to allow for an independent investigation of their officer involved
shootings. For example, Lieutenant Sokolofski stated: “...we have the resources,
knowledge and experience to conduct an investigation better than anyone
else.” (N.T. p. 22) When Major Burig was asked why he would consider it to be
good public policy or practice for a police department to investigate their own guys
in a shooting, Burig, stated as follows: “To be honest, not all police departments
possess the same capabilities. ...we have a long history of investigating our
own and investigating those thoroughly. ...we believe that we can enforce the
laws against our own people. We do it every day.”
SPECIFIC FINDINGS

1. The subject of police officer involved shootings of civilians and how
they are investigated by law enforcement is an issue of high national interest and
tremendous public importance. Police officer involved shootings across the United
States have caused protest and violent confrontations. There is a distrust of law

enforcement when it comes to the investigation of officer involved shootings.

30
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 49 of 56

2. There is a public interest in assuring that investigations of police
officer involved shootings of civilians are not subject to conflicts of interest or
bias. They need to be transparent.

3. In November of 2016, the Pennsylvania District Attorneys
Association adopted a “best practices” protocol for police officer involved
shootings that recommends an independent agency lead the investigation in officer
involved shootings.

4. In March of 2017, the Association of Prosecuting Attorneys, a
national organization of prosecuting attorneys, also recommended that an
independent agency lead the investigation in officer involved shootings.

5. The elected county district attorney of each of the counties of the
Commonwealth of Pennsylvania is considered to be the chief law enforcement
officer of that county.

6. On May 20, 2017, in Northampton County, two Pennsylvania State
Police officers shot and killed a civilian. On that same day, the Pennsylvania State
Police refused to yield the investigation to the Northampton County District
Attorney and cited “policies” that require PSP to investigate their own officer

involved shootings.

31

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 50 of 56

7. Although we concluded that the use of deadly force utilized by
Troopers Splain and Pagan was justified, we had serious questions and concerns
"regarding the investigation by the State Police, its policies and practices as follows:
(a) There seems to exist a great deal of confusion within PSP as to
exactly what their Officer Involved Shooting Policy actually states and/or requires.

For example:

e Lieutenant Sokolofski of Troop M on the day of the Ardo incident
contacted the district attorney to inquire of him how the district attorney
wanted to handle the investigation. Lieutenant Sokolofski specifically
asked if the district attorney wanted to handle the investigation or
whether they should handle it.

e Lieutenant Sokolofski agreed with the district attorney’s desire to lead
the investigation and acquiesced.

e Subsequently, Lieutenant Sokolofski was overruled by his superior,
Captain Richard D’ Ambrosio of Troop M whe stated that the PSP policy
does not allow for the district attorney to lead an officer involved
shooting involving a PSP trooper. Captain D’ Ambrosio testified before
the grand jury that he had conferred with his superior Major Dante
Orlandi.

e Thereafter, with two different positions by two different personnel of
PSP, we requested the PSP to designate an official spokesperson to
testify before the grand jury. We allowed PSP to pick the person they
wanted to state the official policy of the PSP. Major Douglas Burig was
designated and appeared before the grand jury. However, his testimony
was contrary to that of Captain D’ Ambrosio and, in fact, he testified that
he was in agreement with District Attorney Morganelli in that Troop M
should have relinquished the Ardo investigation to the Northampton
County District Attorney’s Office.

32

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 51 of 56

e Asaresult of the confusion, the grand jury thereafter subpoenaed the
commissioner of the PSP, Colonel Tyree Blocker. Commissioner
Blocker testified that Lieutenant Sokolofski did not understand the
policy. (p. 21) He further testified that Major Burig was also wrong
when he testified that he would agree with the district attorney and allow
the DA’s Office to interview officers involved in the shooting, collect
evidence and more or less lead and handle the investigation. (p. 34)
Commissioner Blocker specifically stated that Major Burig was incorrect
when he stated he would allow the DA’s Office to be the independent
agency to investigate a trooper involved shooting in a jurisdiction in
which the Pennsylvania State Police provided primary police coverage.

(p. 36)

(b) There seems to exist a great deal of contradiction within PSP as
to how potential conflicts of interest should be handled between the officer

involved shooting investigative team and the involved officers. For example:

e Commissioner Blocker testified that the Pennsylvania State Police takes
precautions in order to prevent a conflict of interest in the investigation of
an officer involved shooting. Specifically, he indicated that each member
of the team needs to self-examine themselves and that corporals,
sergeants, lieutenants and captains scrutinize the members of the officer
involved shooting team to insure that troopers are not potentially
conflicted with respect to an investigation.

e Additionally, Major Burig testified that they do ask members of the
investigating team if they have personal or social relationships with the
suspect troopers. Major Burig also stated that PSP has lots of resources
and could bring in people from other parts of the state Ze. from other
troops.

e However, both Lieutenant Sokolofski and Captain D’ Ambrosio testified
that they do not ask questions about relationships because they believe in
the integrity of their own people and that they would come forward on
their own. Further, Captain D’ Ambrosio did not agree with Major Burig
with respect to moving people in from another troop and testified that it

33

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 52 of 56

would take time to bring people in from other troops and it would be
cumbersome.

(c) There seems to exist a great deal of contradiction within PSP as
to the ability to assign investigators from other barracks to conduct an officer

involved investigation in another part of the state. For example:

e Captain D’Ambrosio suggested that it would be inefficient and
impractical to bring troopers or investigative teams in from other
barracks outside Troop M to investigate a matter such as an officer
involved shooting.

e Lieutenant Sokolofski also stated that it would be a “nightmare” to
deploy members of a different troop that is farther away with respect
to an officer involved shooting.

e However Commissioner Blocker acknowledged that there is a 72 hour
period of time for an officer who is involved in a shooting to be
interviewed, He stated that this would be enough time to bring in
investigators from a troop some place other than the troop where the
shooting occurred.

e Additionally, a spokesperson for the State Police, Ryan Tarkowski,
was quoted in a Morning Call article dated November 1, 2017

(Exhibit 11) that PSP procedures involve the assignment of
investigators from barracks other than that of the involved troopers.

(d) Despite our finding that Trooper Splain and Pagan’s use of
deadly force was justified, we find that the involved troopers were given special
treatment by the investigating team comprised of members of their own troop not
generally afforded to others who are the subject of a criminal investigation. For

example:

34
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 53 of 56

e Troopers Pagan and Splain were not subjected to an interview until 30
days after the shooting.

e When Trooper Splain and Pagan were interviewed, the troopers were
allowed to view the video of the event as recorded by their motor
vehicle recorders prior to being interviewed which practice is contrary

to the recommended practice and a courtesy not afforded to others
who are the subject of a criminal investigation.

(e) Despite our finding that Trooper Splain and Pagan’s use of
deadly force was justified, and that the investigation was generally well
conducted, we did find deficiencies in particular the following:

e The motor vehicle recording devices were inoperational at the
exact time that the troopers engaged Mr. Ardo resulting in the
grand jury’s inability to view and hear the commands given by the
troopers just prior to the shooting. Fortunately, there were
independent witnesses who were able to independently corroborate

and verify the troopers testimony of having given said commands
prior to the use of deadly force.

8. Despite the assurances of PSP leadership, there is no formal structure
in place to assure that there are no personal or other relationships between the
members of the investigating team and the involved officers to assure a transparent
and unbiased investigation. Self-reporting alone cannot be relied upon.

9, At the present time, not all of PSP personnel precisely know what
their policies mean and, therefore, they cannot be uniformly applied throughout
Pennsylvania in every matter.

10. PSP leadership have a somewhat arrogant opinion of their own

superiority over any other law enforcement agency which has contributed to their

35

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 54 of 56

recalcitrant position of not relinquishing an investigation involving one of their
own officers to another law enforcement agency.

11. The Pennsylvania State Police as an agency of the Commonwealth is
not above the law. They are not immune from public scrutiny.

12. The Commissioner of the Pennsylvania State Police is appointed by
and reports to the Governor of the Commonwealth of Pennsylvania.

13. The Governor has the authority to order the Commissioner of the
State Police to implement policies that will assure that the investigation of an
officer involved shooting is transparent, free from potential bias or conflicts of
interest and done by an independent agency.

GRAND JURY RECOMMENDATIONS

1.  Itis recommended that the commissioner of the Pennsylvania State
Police strongly consider adopting the Pennsylvania District Attorney’s Best
Practices protocol with respect to officer involved shootings, or, in the alternative,
adopt a practice and protocol that will involve an independent agency as the lead
investigating agency in such matters.

2. It is recommended that the Pennsylvania State Police leadership
clarify its written policies and practices with respect to officer involved shootings

and assure that all commanders throughout the Commonwealth of Pennsylvania

36

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 55 of 56

have a full and complete understanding of same in order to assure uniformity in
application.

3,  Ttis recommended that the Pennsylvania State Police strongly
consider the use of body cameras for all state troopers, particularly in light of the
deficiencies associated with the present motor vehicle recording devices. We note
that PSP ignored a similar recommendation made by a grand jury in Dauphin
County in 2014.

4. — It is recommended that a copy of this report be forwarded to Governor
Tom Wolf, Governor of the Commonwealth of Pennsylvania for whatever action,
if any he deems appropriate.

5, It is recommended that a copy of this report be forwarded to the
majority and minority leaders of the Pennsylvania Senate and the Pennsylvania
House of Representatives for whatever action, if any they deem appropriate.

6. It is recommended that a copy of this report be forwarded to the
Attorney General of the Commonwealth of Pennsylvania for whatever action, if

any he deems appropriate.

37

 
Case 5:18-cv-05217-EGS Document1 Filed 12/04/18 Page 56 of 56

CONCLUSION
This Report represents a summary of the pertinent evidence presented to the
Northampton County Investigating Grand Jury of 2016 relating to the facts and
circumstances surrounding the death of Anthony Ardo. Although this Report does
not recite all of the testimony placed before the Grand Jury, this Report does
contain sufficient cause upon which to conclude that a Report detailing our

findings and recommendations was necessary and in the public interest.

38
